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 7                            UNITED STATES DISTRICT COURT
 8                           CENTRAL DISTRICT OF CALIFORNIA
 9                                 WESTERN DIVISION
10
       UNITED STATES OF AMERICA,              Civil Case No. 21-6582-JFW (KSx)
11
                Plaintiff,
12                                            STIPULATED ORDER FOR
           v.                                 PERMANENT INJUNCTION AND
13                                            FINAL JUDGMENT AS TO
       INTERNET TRANSACTION                   DEFENDANT ERIC BAUER
14
       SERVICES, INC., et al.,
15
                Defendants.
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 1            On August 13, 2021, the United States of America filed its Complaint for
 2    Temporary Restraining Order, Preliminary and Permanent Injunctions, and Other
 3    Equitable Relief (the “Complaint”) against Defendant Eric Bauer (“Defendant”)
 4    and other named Defendants, pursuant to 18 U.S.C. § 1345, based on Defendants’
 5    alleged violations of 18 U.S.C. §§ 1343, 1344, and 1349. On August 20, 2021, the
 6    Court issued its Order granting the United States’ Ex Parte Application for a
 7    Temporary Restraining Order. On September 2, 2021, the Court issued a
 8    Preliminary Injunction.
 9            The United States and Defendant stipulated to the entry of this Stipulated
10    Order for Permanent Injunction (“Order”). Defendant entered into the Stipulation
11    freely and without coercion. Defendant further acknowledged that he has read the
12    provisions of the Stipulation and this Order, understands them, and is prepared to
13    abide by them. Per the parties’ agreement, the Stipulation and this Order resolve
14    only the claims against Defendant in the above-captioned civil lawsuit. They do
15    not prevent the United States from pursuing criminal penalties against Defendant
16    in relation to the conduct alleged in the Complaint, nor does Defendant’s
17    Stipulation constitute evidence that Defendant committed the acts alleged in the
18    Complaint, or in any way prejudice Defendant’s ability to contest the allegations in
19    the Complaint in a future proceeding.
20            Accordingly, it is hereby ORDERED, ADJUDGED, AND DECREED that:
21                                             FINDINGS
22            A.    This Court has jurisdiction over the subject matter of this case and
23    there is good cause to believe that it will have jurisdiction over all parties hereto
24    and that venue in this district is proper.
25            B.    The United States seeks injunctive relief pursuant to 18 U.S.C. §
26    1345.
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 1          C.        Defendant neither admits nor denies any of the allegations in the
 2    Complaint. Only for purposes of this action, Mr. Bauer admits the facts necessary
 3    to establish jurisdiction.
 4                                        DEFINITIONS
 5          For the purpose of this Order:
 6          A.        “Asset” means any legal or equitable interest in, right to, or claim to,
 7    any property, wherever located and by whomever held.
 8          B.        “Corporate Entities” means Defendants Internet Transaction
 9    Services, Inc., Intertrans.com, Inc., and each of the “Shell Entities” defined below.
10          C.        “Payment Processing Services” means handling credit card
11    transactions, debit card transactions, Automated Clearing House (ACH)
12    transactions, check transactions, money orders, or cash transactions.
13          D.        “Person” means any individual, corporation, a partnership, or any
14    other entity.
15          E.        “Receiver” means Thomas W. McNamara, and any deputy receivers
16    that shall be named by him.
17          F.        “Receivership Entities” means Defendants Internet Transaction
18    Services, Inc.; Intertrans.com, Inc.; as well as any other entity that has conducted
19    any business related to Intertrans’ participation in the scheme that is the subject of
20    the Complaint in this matter, including receipt of Assets derived from any activity
21    that is the subject of the Complaint in this matter, and that the Receiver
22    determines is controlled or owned by Intertrans.
23          G.        “Shell Entities” means Defendants Be a Kloud LLC; Blue Water
24    LLC; CBX International Inc. (Delaware); CBX International, Inc. (Florida); Delta
25    Cloud LLC; Dollar Web Sales LLC; ECloud Secure LLC; Eastgate View LLC; I-
26    Support Group LLC; My Kloud Box LLC; Newagecloudservices LLC; NRG
27    Support LLC; Silver Safe Box LLC; Silver Safe Box Inc.; Storage VPN LLC; and
28    VPN Me Now LLC.
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 1                                              ORDER
 2    I.    PROHIBITED ACTIVITIES
 3          IT IS ORDERED that Defendant, his agents and attorneys, and all other
 4    persons in active concert or participation with him, who receive actual notice of
 5    this Order by personal service or otherwise, are permanently restrained and
 6    enjoined from:
 7          A.     Committing or conspiring to commit wire fraud, as defined by 18
 8    U.S.C. §§ 1343 and 1349;
 9          B.     Committing or conspiring to commit bank fraud, as defined by 18
10    U.S.C. §§ 1344 and 1349;
11          C.     Charging or debiting any person or entity on behalf of any Shell
12    Entities or for the purported purchase of any Shell Entities’ services;
13          D.     Debiting funds from consumers’ bank accounts without their prior
14    authorization;
15          E.     Engaging in any tactics to avoid fraud and risk monitoring programs
16    established by any financial institution, payment processors, or the operators of any
17    payment system, including by using sham transactions, such as the “micro
18    transactions” described in the Complaint, to reduce a bank account’s return or
19    chargeback rate, or by using shell corporations to open bank accounts;
20          F.     Incorporating or creating any corporate entity for the purpose of
21    debiting funds from consumers’ bank accounts without their prior authorization;
22          G.     Selling, renting, leasing, transferring, or otherwise disclosing, the
23    name, address, birth date, telephone number, email address, credit card number,
24    bank account number, Social Security number, IP address, or other financial or
25    identifying information of any person that any Defendant obtained in connection
26    with any activity that pertains to the subject matter of this Order; and
27          H.     Providing any support or substantial assistance to any Person that
28    Defendant knows is engaged in any of the above activities.
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 1    II.   COOPERATION WITH RECEIVER AND ASSET FREEZE
 2          Assets held by Defendant on behalf of any Corporate Entity, Receivership
 3    Entity, or Co-Defendant shall remain frozen. This includes: all Assets in bank
 4    accounts that Defendant opened at the behest of Edward Courdy, Guy Benoit, or
 5    another Co-Defendant; all Assets in bank accounts that were used to hold the
 6    Assets of a Corporate Entity or a Receivership Entity, including Add-On Coupon
 7    Services, Cloudforce, Discount Coupon Sales, Ecloud Secure, Gigatech, I-Data
 8    Kloud, Merchant Coupon Sales, Myterabytes, Redeem Coupons, Redeem Coupons
 9    Now, Tech Connect, or Unlimited Tech Direct; and all Assets in bank accounts
10    that have been used to charge unauthorized debits or to pay the “micro
11    transactions” described in the Complaint.
12          All other Assets belonging to Defendant shall be unfrozen and released to
13    his control. Upon receiving proof that a bank account has not been used in the
14    fraud scheme, the government shall assist Defendant in securing the release of that
15    account to Defendant’s control.
16          For any frozen Assets within the control of Defendant, his agents and
17    attorneys, and/or all other persons in active concert or participation with him,
18    Defendant shall:
19          A.     Hold, preserve, and retain within his control and prohibit the
20    withdrawal, removal, alteration, assignment, transfer, pledge, encumbrance,
21    disbursement, dissipation, relinquishment, conversion, sale, or other disposal of
22    any Asset, as well as all Documents or other property related to such Assets,
23    except by further order of this Court or by direction of the Receiver;
24          B.     Fully cooperate with and assist the Receiver in taking and maintaining
25    possession, custody, or control of the Receivership Entities’ Assets; and
26          If Defendant becomes aware of an account within his control which contains
27    frozen Assets subject to this Order, and which Defendant has not already disclosed
28    to the United States, Defendant will promptly disclose that account to the United
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 1    States. The required disclosure may be provided by emailing Postal Inspector
 2    Ashlea Bowens at ARBowens@uspis.gov.
 3    III.   COMPLIANCE MONITORING
 4           For a period of five (5) years after the date of entry of this Order, Defendant
 5    must notify the United States if he:
 6           A.    Creates, operates, is employed by, or otherwise becomes involved in
 7    any business or entity that provides, or consults or provides advice regarding
 8    Payment Processing Services;
 9           B.    Creates, operates, is employed by, or otherwise becomes involved in
10    any business or entity that monitors return or chargeback rates for any other
11    business or corporate entity; and/or provides advice or consulting on how to lower
12    or manage return or chargeback rates for any business or corporate entity;
13           C.    Creates, operates, is employed by, or otherwise becomes involved in
14    any business or entity that purports to offer cloud computing services, identity theft
15    protection services, or technology support services;
16           D.    Creates, operates, or exercises control over any business entity,
17    whether newly formed or previously inactive. Defendant must also provide the
18    United States with a written statement disclosing: (1) the name of the business
19    entity; (2) the address and telephone number of the business entity; (3) the names
20    of the business entity’s officers, directors, principals, managers, and employees;
21    and (4) a detailed description of the business entity’s intended activities.
22    IV.    ORDER ACKNOWLEDGMENTS
23           It is further ordered that within fifteen (15) days after entry of this Order, the
24    Defendant is ordered to submit to Postal Inspector Ashlea Bowens a written
25    acknowledgement of receipt of this Order sworn under penalty of perjury. The
26    statement shall be addressed to:
27           Postal Inspector Ashlea Bowens
28           U.S. Postal Inspection Service
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 1          P.O. Box 7404
 2          Washington, DC 20044-7404
 3    V.    MODIFICATION OF ORDER
 4          This Order shall not be modified except in writing by the United States and
 5    Defendant and approved by the Court.
 6    IV.   RETENTION OF JURISDICTION
 7          IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this
 8    matter for all purposes.
 9    SO ORDERED
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11    DATED this 10th day of November, 2021
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13                                           ________________________
14                                           United States District Judge
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